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 5
     Attorneys for
 6   MyBusinessLoan.com, LLC d/b/a Dealstruck
 7

 8                               UNITED STATES DISTRICT COURT

 9                              SOUTHERN DISTRICT OF CALIFORNIA

10

11   MYBUSINESSLOAN.COM, LLC d/b/a                    CASE NO. 15-CV-1770-BAS-BGS
     DEALSTRUCK, INC.
12
                           Plaintiff,
13                                                   NOTICE OF VOLUNTARY
     v.                                              DISMISSAL WITHOUT PREJUDICE
14                                                   OF ALL DEFENDANTS
     AMERICAN ROOFING, INC. d/b/a
15   DRURY BROS. ROOFING, DRURY                       Action Filed: August 11, 2015
     BROS ROOFING DENVER, INC.,
16   GEORGE DON DRURY, REIMAN
     CORP., AND IRET PROPERTIES,
17
                           Defendants.
18

19

20          Plaintiff, MyBusinessLoan.com, LLC d/b/a Dealstruck, Inc. (“Plaintiff”), hereby

21   voluntarily dismisses Defendants, American Roofing, Inc. d/b/a Drury Bros. Roofing, Drury Bros

22   Roofing Denver, Inc., George Don Drury, Reiman Corporation and Iret Properties (collectively

23   “Defendants”) without prejudice from this action.       Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i),

24   Defendants have neither answered Plaintiff’s Complaint nor filed a motion for summary

25   judgment.

26          Consistent herewith Plaintiff consents to the Court having its case closed for

27   administrative purposes.
28


                      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE OF ALL DEFENDANTS
Case 3:15-cv-01770-BAS-BGS Document 13 Filed 09/11/15 PageID.94 Page 2 of 2



 1          Dated: September 11, 2015
                                                          Respectfully submitted,
 2

 3                                                  By:    /s/ Deborah B. Baker-Egozi
                                                          Deborah B. Baker-Egozi (SBN 266141)
 4                                                        LIPSCOMB, EISENBERG & BAKER, PL
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 6                                                        Telephone: (786) 431-2228
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 7                                                        Email: dbaker@lebfirm.com
                                                          Attorneys for Plaintiff
 8

 9                                   CERTIFICATE OF SERVICE
10          I HEREBY CERTIFY that on this 11th day of September, 2015, a true and correct copy of

11   the foregoing was filed with the Clerk of the Court using the CM/ECF and on all of those parities
12
     receiving electronic notification via the Court’s CM/ECF electronic filing.
13

14                                                By:      /s/ Deborah B. Baker-Egozi
                                                          Deborah B. Baker-Egozi (SBN 266141)
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                      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE OF ALL DEFENDANTS
